* Motion for rehearing denied, with $25 costs, on April 13, 1948.
Action to recover damages for injuries sustained by a guest when the automobile of his host left the highway at a curve. The case was tried to a jury and from a judgment upon the verdict dismissing the complaint, the plaintiff appeals. *Page 211 
The appellant Gilbertson seeks to recover damages for personal injuries sustained while a guest in the automobile of the respondent Gmeinder.
On Sunday, April 8, 1945, Gilbertson, Gmeinder, and Verne Thompson left Madison with the intention of fishing at a point on the Wisconsin river about eight miles west of Poynette known as the "Grade."  Thompson provided four bottles of beer and a fifth of whiskey which was about one third full. Upon arriving at the "Grade" at about 10:30 a.m. they stopped at a beer tavern (it served no liquor) and had some beer from glasses.  The bottle of whiskey was brought from the car and the owner of the tavern and a male cook had several drinks from it with them.
The three then went to the river bank, made observations which indicated to them that it was not a good day for fishing, and returned to the tavern where they had lunch.  Some time later upon the invitation of the cook, the three accompanied him to his cottage near by where they had some whiskey from a fruit jar.  Of this they testified that they drank sparingly because it did not taste good.
From the cottage they returned to the tavern to pick up Thompson's minnow bucket.  Gilbertson and Gmeinder did not get out of the car.  It was between one and two o'clock in the afternoon when they left for Madison where Gmeinder had to report to work as a bartender at four o'clock.
Gmeinder drove, Gilbertson sat beside him in a half-turned position talking to Thompson who sat in the rear on a jump seat.  Three miles from Poynette, Gmeinder, in attempting to negotiate a right curve, got over onto the left shoulder, clipped down some fence posts, and came, to a jolting stop in the bed of a stream.
In submitting the case to the jury the court framed the first question of the special verdict:
"At the time of, or immediately prior to, the accident in which the automobile operated by Gregory Gmeinder was *Page 212 
involved, on April 8, 1945, was Gregory Gmeinder negligent in such manner and degree as to increase the risk to plaintiff, Stanley Gilbertson, beyond what he ought reasonably to have anticipated, in any of the following particulars:
"(a) In respect to maintaining a sufficient lookout?  Ans. No.
"This answer agreed to by all jurors except Mrs. A. C. Breitenbach Mrs. L.S. Collin.
"(b) In respect to management and control of his automobile? Ans.  No.
"This answer agreed to by all jurors except Mrs. A. C. Breitenbach Mrs. L.S. Collin.
"(c) In respect to his rate of speed?  Ans.  No.
"(d) In respect to operating said automobile while under the influence of intoxicating liquor?  Ans.  No."
The second question was on causation.
Question 6 read:
"If by your answers to the inquiries contained in subdivisions (c) or (d) of the first question you find that Gregory Gmeinder was negligent in either, or both, of said particulars,and if by your answers to the inquiries contained in subdivisions (c) or (d) of the second question, you find that such negligence is a natural cause of the accident, then answer this:
"Did Stanley Gilbertson assume the risk of injury to himself by riding with Gregory Gmeinder, on account of such,
"(a) Excessive rate of speed?  Ans. ___________
"(b) Driving while under the influence of intoxicating liquor? Ans. ___________"
In its instructions to the jury the trial court treated questions 1 and 3 (which was an inquiry as to whether Stanley Gilbertson exercised ordinary care for his own safety) together, and defined negligence, ordinary care, and the rules of the road without segregating the instructions on those elements with respect to which Gmeinder owed a straight duty from those with respect to which it was his duty not to increase the risk assumed by Gilbertson upon entering the car. *Page 213 
It is impossible to determine by the answers of the jury to question 1 whether it found that Gmeinder was guilty of no negligence at all or that he was negligent but not in such manner as to increase the risk which should have been anticipated by Gilbertson.
For instance, if Gmeinder was drunk, then as a matter of law Gilbertson, having been with him all during the time he was drinking, would assume the risk flowing therefrom.Schubring v. Weggen (1940), 234 Wis. 517, 291 N.W. 788.
Did the jury by its verdict mean that Gmeinder was not under the influence of intoxicants or that he was and Gilbertson knew or should have known that he was when they entered the car for the return trip to Madison?
That there was confusion on the part of the jury upon the meaning of this question is evident from the record.
After the jury had been out for slightly more than two hours the court called it in, apparently upon his own motion, and asked if he could help with further instructions.  The foreman answered that he thought so.  The following colloquy occurred:
The Foreman:  "An interpretation of the pronoun `he' in the first question."
The Court:  "`He ?'"
The Foreman:  "Yes.  Who that refers to."
The Court:  "`He' in that instance refers to Stanley Gilbertson. That is in the first part of the — in the first question.
"At the time of, or immediately prior to, the accident in which the automobile operated by Gregory Gmeinder was involved, on April 8, 1945, was Gregory Gmeinder negligent in such manner and degree as to increase the risk to plaintiff, *Page 214 
Stanley Gilbertson, beyond what he, — meaning Stanley Gilbertson, — ought reasonably to have anticipated, in any of the following particulars:
"Does that answer your question?"'
The Foreman:  "It does."
The Court:  "Is there any other subject, Mr. Foreman, that you feel the jury should be further instructed on?"
The Foreman:  "No, there isn't, as far as I am concerned. . . ."
A Juror:  "I am a little bit puzzled, — at the end of that first question, whether that means, under the circumstances, you add that at the end, — would that convey the idea, — ought to have anticipated under the circumstances?"
The Court:  "Beyond what he ought reasonably to have anticipated in the following particulars; in respect to maintaining a sufficient lookout?"
The Juror:  "Under the circumstances?  Or ought to have expected in any circumstances?"
The Court:  "Bearing in mind that this question refers to the collision being inquired into here, — not the collision, but the accident, — in which the Gmeinder automobile ran into this ditch, and in which accident the plaintiff was injured, — bearing in mind the question refers to that particular incident, and reading the question, — I  will repeat the question again, and perhaps, by my reading it you might get some different impression than you now have."
(The court reread the first question.)
"It seems to me that should be clear enough.  I don't know though.  I am sorry that it isn't clear to all of you.
"I will give you a definition of `negligence' which might be helpful to you, — the same definition that I gave to you in my instructions before.  I will read the first part of the instructions, — a part of the instructions.
"`It is necessary for you to get a clear idea of what constitutes negligence.
"`In this case an automobile operator was negligent if, without intending to do any wrong, he did such an act, or omitted to take such precaution that, under the circumstances present at the time, he, as an ordinarily prudent, intelligent automobile operator ought reasonably to have foreseen that damage or injury might probably result from his conduct. *Page 215 
"`Negligence is also defined as a failure to use that degree of care and caution which is ordinarily used by the majority of persons acting under the same or similar circumstances.  The majority of persons usually so act and take such precautions in operating automobiles that under the circumstances present at the time, they have no reasonable cause to foresee that damage or injury might probably result from their conduct.'
"I thought that maybe that is what you had in mind, — a further definition of the term `negligence' as used in that question. I hope that will be helpful."
Another Juror:  "I think that the question became involved because we didn't understand whether you meant ought to be when he got in the car at Madison, or when he got in the car at the fishing point, or at the time when he left the road."
The Court:  "In one place in the instructions I refer to the assumption of risk, — the question of assumption of risk.  I said that, under certain circumstances, the plaintiff, by getting into the automobile on the return trip home, would be assuming the risk, — under certain circumstances, understand.  It would seem to me that for the purpose of this trial, in the questions presented to you, that you would be justified in considering the trip home as the trip under consideration here in this trial, so far as the rights or duties of the respective parties are concerned.  Does that answer your question?"
The Juror:  "Yes, sir."
The Court:  "Mr. Foreman, do you feel now, with these additional instructions that the jury is to make better progress?"
The Foreman:  "I do."
The jury again left the courtroom at 4:50 p.m. and returned at 8:20.  The court read question 5 on comparative negligence and read the instructions originally given thereon and told the jury to answer the question.  At 8:30 p.m. the jury again entered the courtroom, handed its verdict to the court and this conversation was held:
The Court:  "Do you and the members of the jury understand that in answering the First Question that a finding of `Yes' would be a finding of negligence on the part of Gmeinder and the answer of `No' would be a finding that he was not *Page 216 
negligent?  Do you and the members of the jury so understand the question?  Answer that Yes or No."
Juror Caldwell:  "Would you ask that question again."
The Court:  "Do you and the members of the jury understand that with respect to the First Question that an answer of `Yes' would be a finding that Gmeinder was negligent, and an answer of `No' would be a finding that he was not negligent?"
Foreman Caldwell:  "No, I didn't."
(The verdict was then read to the jury.)
The Court:  "Members of the jury, was that and is that now your verdict?"
The jury was then polled by the clerk with substantially the question last asked by the court and each juror answered "Yes."
On the verdict as returned there is no finding of negligence on the part of the defendant, and yet in apportioning the negligence it attributed ninety per cent to Gmeinder and ten per cent to Gilbertson.  What was meant by these answers is in such doubt as to require a new trial.
By the Court. — Judgment reversed, and cause remanded with instructions to grant a new trial. *Page 217 